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10
      JAMES SHAYLER
11

12                         UNITED STATES DISTRICT COURT
13
                         CENTRAL DISTRICT OF CALIFORNIA
14

15
      James Shayler, an Individual,         CASE NO.: 2:20-cv-10751-GW-GJS
16

17                 Plaintiff,               Hon. George H. Wu
18
            v.                              PLAINTIFF’S REPLY IN SUPPORT
19                                          OF MOTION FOR SUMMARY
      1310 PCH LLC, a California limited    JUDGMENT
20
      lability company; and Does 1-10,
21
                   Defendants.              Date: August 16, 2021
22
                                            Time: 8:30 a.m.
23                                          Courtroom: 9D
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 1    I.    INTRODUCTION
 2
            Defendant 1310 PCH LLC (“Defendant”) files its Non-Opposition to
 3

 4    Plaintiff’s Motion for Summary Judgment (“MSJ”), taking the contradictory
 5
      positions both that 1) admit (do not dispute) that the Property remains out of
 6

 7
      compliance with accessibility laws, but 2) claim Plaintiff’s MSJ was not

 8    necessary. Both things cannot be true. Certainly, if violations undoubtedly exist at
 9
      the Property, and have not been remediated in the nearly one year that this case
10

11    has been pending, Plaintiff must file his MSJ to obtain injunctive relief to ensure
12
      that the remediations occur.
13

14
            Defendant claims that its representative testified about Defendant’s

15    willingness to fix the Property, yet this testimony occurred four months ago, and
16
      Defendant has neither fixed the Property, nor has it described any concrete steps
17

18    taken to ensure that the Property will be fixed soon. Similarly, Defendant relies on
19
      a June 2021 email vaguely referencing an intent to “resolve the issues,” but to
20

21
      date, nothing has been resolved. Plaintiff has provided numerous reasonable

22    resolution proposals, which have been rejected at every turn. Plaintiff had only
23
      one option left to ensure that the Property is remediated: file his MSJ. Thus,
24

25    Plaintiff submits that because Defendant fails to dispute any aspect of his MSJ
26
      (other than to claim it should not have been filed, which defies logic as explained
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28
      above), it should be granted in full.


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 1    II.   DISCUSSION
 2
            Defendant has not established a single genuine issue of material fact on any
 3

 4    elements set forth in Plaintiff’s Motion for Summary Judgment. Instead,
 5
      Defendant makes several irrelevant assertions that should have no bearing on the
 6

 7
      Court’s ruling as set forth below.

 8          A.     There is No Dispute that the Property Remains Out of
 9
                   Compliance
10

11          In the Non-Opposition, Defendant suggests that it should be relieved of its
12
      duties as a public property owner under the ADA simply because its
13

14
      representatives claim they will remediate the Property. See ECF No. 28,

15    Conditional Non-Opposition, at 1-2. However, Defendant’s actions have hardly
16
      shown a willingness to remediate. This case was filed over eight (8) months ago,
17

18    on November 25, 2020. ECF No. 1, Complaint. Defendant was formally served
19
      with the case initiating documents on December 3, 2020. ECF No. 9, Proof of
20

21
      Service. Defendant’s counsel filed Defendant’s Answer on January 7, 2021. ECF

22    No. 10, Answer. Thus, Defendant has certainly been aware of this lawsuit for
23
      months, and yet has taken absolutely no steps to remediate the Property.
24

25          Defendant points to the deposition of Person Most Knowledgeable Simon
26
      Hakakian, taken on March 23, 2021, and a few sentences in Defendant’s counsel’s
27

28
      email from June 8, 2021, as evidence that Defendant will make the necessary


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 1    repairs. See ECF No. 28, Conditional Non-Opposition, at 1-2. However, since both
 2
      the March, 2021 deposition and counsel’s June, 2021 email, the Property still
 3

 4    remains inaccessible to those with disabilities. See ECF No. 26-5, Declaration of
 5
      John Battista; ECF No. 26-20, P’s Exh. 13, Battista Report. In fact, it remains
 6

 7
      wildly out of compliance to this day. Id. Defendant cannot rely on vague

 8    representations that remediation will happen “some day” to escape liability.
 9
            Given that Defendant does not actually dispute the presence of violations at
10

11    the Property, or any of Plaintiff’s other claims in his Motion, Plaintiff respectfully
12
      submits that his Motion should be granted.
13

14
            B.     The Unruh Act Claim Has Not Been Dismissed

15          The February 19, 2021 Scheduling Order does not state that the Court has
16
      declined to exercise supplemental jurisdiction, but that it will do so. ECF No. 15,
17

18    In Chambers – Scheduling Order dated February 19, 2021. Plaintiff submits that
19
      this situation, with litigation pending for nearly a year and absolutely no remedial
20

21
      actions taken by Defendant, calls for the Court to make an exception and exercise

22    its supplemental jurisdiction. As Plaintiff has established his ADA claim and is
23
      clearly entitled to statutory damages under his UCRA claim (which does not
24

25    predominate), there is no reason why this Court should not retain supplemental
26
      jurisdiction and enter judgment in favor of Plaintiff for the requested damages
27

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      amount. See 28 U.S.C. § 1367(c)(3)-(4). Plaintiff respectfully requests that the


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 1    Court do so as set forth further in Section V of Plaintiff’s Memorandum of Points
 2
      and Authorities in Support of Motion for Summary Judgment. See ECF No. 26-1.
 3

 4    III.   CONCLUSION
 5
             For all of the reasons provided in his Motion and Reply papers, Plaintiff
 6

 7
      respectfully requests that this Court grant summary judgment in his favor.

 8    Dated: July 30, 2021               THE LAW OFFICE OF HAKIMI & SHAHRIARI
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10
                                         By:    /s/ Peter Shahriari
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                                               Peter Shahriari, Esq.
12                                             Attorneys for Plaintiff James Shayler
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